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                                 123279

                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:21-cv-02252
1:21-cv-02263
1:21-cv-02264
1:21-cv-02275
1:21-cv-06545



                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

         Cook Medical LLC (which is alleged in some cases to be also known as “Cook
         Medical, Inc.”);
         Cook Incorporated (which is alleged in some cases to be doing business as “Cook
         Medical”); and
         William Cook Europe ApS

Dated: September 8, 2021                     /s/ Andrea Roberts Pierson
                                             Andrea Roberts Pierson (# 18435-49)
                                             Kip S. M. McDonald (# 29370-49)
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2021, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.


                                                     /s/ Andrea Roberts Pierson




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